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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

 

 

for the
Middle District of Florida
SHELLY C. WINGATE
)
)
Plaintiff(s)
Vv. ) Civil Action No. 0:20-cv-62658-RAR
)
ACCOUNT RESOLUTION SERVICES, LLC )
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Account Resolution Services, LLC
1643 Harrison Parkway, Suite 100, Building H
Sunrise, Florida 33323

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Alexander J. Taylor, Esq.

Sulaiman Law Group, Ltd
2500 S Highland Ave, Suite 200
Lombard, IL 60148

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

SUMMONS

Date: Dec 28, 2020 s/P. Curtis

 

Deputy Clerk
U.S. District Courts

 

Clerk of Court
